        Case 22-24160                 Doc 10           Filed 11/09/22 Entered 11/09/22 22:22:56                                      Desc Imaged
                                                      Certificate of Notice Page 1 of 5
Information to identify the case:
Debtor 1              Patricia Benitez−Castro                                   Social Security number or ITIN        xxx−xx−8396
                      First Name   Middle Name   Last Name                      EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                        Social Security number or ITIN _ _ _ _
                      First Name   Middle Name   Last Name
(Spouse, if filing)
                                                                                EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court District of Utah
                                                                      Date case filed for chapter 7: 10/21/22
Case number: 22−24160 WTT

Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                              10/20

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov) or by
calling the Voice Case Information System (VCIS) at 1−866−222−8029.

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                            About Debtor 1:                                          About Debtor 2:

1.      Debtor's full name                  Patricia Benitez−Castro

2.      All other names used in the aka Patricia Benitez Castro
        last 8 years

3.     Address                             2546 South 7025 West
                                           Salt Lake City, UT 84128

4.     Debtor's attorney                   Andrew T. Curtis                                         Contact phone (801) 224−8282
                                           Lincoln Law
       Name and address                    921 West Center Street                                   Email: lincolnlaw.orem.atc@gmail.com
                                           Orem, UT 84057

5.     Bankruptcy trustee                  Steven R. Bailey tr                                      Contact phone 801−589−5947
                                           Steven R. Bailey, Attorney at Law
       Name and address                    P.O. Box 1828                                            Email: karen@baileylaw.org
                                           Layton, UT 84041
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 1
Date Generated: 11/7/22                                                                                        For more information, see page 2 >
        Case 22-24160                          Doc 10      Filed 11/09/22 Entered 11/09/22 22:22:56                                          Desc Imaged
                                                          Certificate of Notice Page 2 of 5
Debtor Patricia Benitez−Castro                                                                                              Case number 22−24160

6. Bankruptcy clerk's office                    United States Bankruptcy Court                                Hours open: 8:00 AM to 4:30 PM,
                                                District of Utah                                              Monday − Friday
    Documents in this case may be filed at this 350 South Main #301
    address. You may inspect all records filed Salt Lake City, UT 84101                                       Contact phone: (801) 524−6687
    in this case at this office or online at
    https://pacer.uscourts.gov.
                                                                                                              Website: www.utb.uscourts.gov
                                                  Clerk of Court: David A. Sime

7. Meeting of creditors                           The meeting may be continued or adjourned to a              Meeting to be held on:
                                                  later date.                                                 November 29, 2022 at 09:30 AM
    Debtors must attend the meeting to be
    questioned under oath. In a joint case,       All individual debtor(s) must provide picture
    both spouses must attend. Creditors may       identification and proof of social security number Location:
    attend, but are not required to do so.
                                                  to the trustee at the meeting of creditors. Failure Dial: (866) 817−0543 Ten Min
                                                  to do so may result in your case being dismissed. Before Mtg, Participant Code:
                                                                                                      5532632, By Teleconference (See
                                                                                                      Attached Notice for Instructions)

8. Presumption of abuse                           The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                 Filing deadline: 1/30/23
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                  You must file a complaint:
                                                  • if you assert that the debtor is not entitled to
                                                    receive a discharge of any debts under any of the
                                                    subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                    or

                                                  • if you want to have a debt excepted from discharge
                                                    under 11 U.S.C § 523(a)(2), (4), or (6).

                                                  You must file a motion:
                                                  • if you assert that the discharge should be denied
                                                    under § 727(a)(8) or (9).


                                                  Deadline to object to exemptions:                           Filing deadline: 30 days after
                                                  The law permits debtors to keep certain property as         the conclusion of the meeting of creditors
                                                  exempt. If you believe that the law does not authorize an
                                                  exemption claimed, you may file an objection.


10. Proof of claim                                No property appears to be available to pay creditors. Therefore, please do not file a
                                                  proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless    will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.                deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                               The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                  not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                  exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                  https://pacer.uscourts.gov. If you believe that the law does not authorize an exemption
                                                  that the debtors claim, you may file an objection. The bankruptcy clerk's office must
                                                  receive the objection by the deadline to object to exemptions in line 9.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                            page 2
      Case 22-24160            Doc 10       Filed 11/09/22 Entered 11/09/22 22:22:56                         Desc Imaged
                                           Certificate of Notice Page 3 of 5
                         IMPORTANT
      READ THIS WELL BEFORE YOUR MEETING OF CREDITORS

In an effort to contain the spread of Covid−19, until further notice, all Chapter 7, 11 and 12 meetings of
creditors will be conducted by telephone. Debtors, attorneys, creditors, and others CANNOT APPEAR IN
PERSON.

To participate in the meeting of creditors scheduled in this case, 10 minutes before the scheduled time, call the
toll−free number listed in the 341 notice and use the participant code. Do not call any earlier than 10 minutes
before your scheduled meeting of creditors.


  o You must use a touch−tone phone.
  o Dial the call−in number and then enter the participant passcode, which consists of 7 numbers and is followed by
    a # sign.
  o Use a landline phone and not a cell phone, if possible.
  o Do not use the speaker phone function.
  o Make the call from a quiet area where there is as little background noise as possible.
  o Mute your phone and do not speak until the bankruptcy trustee calls your case. (Other meetings of creditors will
    likely be in session when you call in. You will still be able to hear the trustee even when your phone is muted.)
  o Unmute your phone when the trustee calls your case so that the trustee can hear you.
  o Wait until the trustee calls your case before speaking because more than one case will be waiting on the
    conference line at any given time.
  o When speaking, identify yourself.
  o Do not put the phone on hold at any time after the call is connected.
  o If more than one person is attending the meeting of creditors from the same location, each person should use
    separate touch−tone phones, if possible.
  o Once your meeting of creditors is finished, hang up.
  o If you become disconnected before your meeting of creditors is finished, call back.
  o If you are calling in from another country, please see the additional information available at:
    https://www.mymeetings.com/audioconferencing/pdf/GlobalAccessDialingInformation.pdf


• Debtors must provide valid government identification (such as a valid Utah Driver's License) and proof of their
  social security number (such as an original social security card) to their attorney prior to the meeting of creditors
  and show their identification to their attorney via a video communication system (such as Skype or Facetime, etc.)
  during the meeting of creditors.
• During the meeting of creditors, Debtors' attorneys will: (i) confirm on the record that they have reviewed the
  debtor's identification (stating what form of identification was reviewed) and whether the name on the
  identification matches the name on the petition and whether the picture and identifying information on the
  identification matches the debtor; and (ii) confirm on the record that they have reviewed proof of the debtor's
  social security number, what form of proof of social security number was reviewed, and whether the social
  security number on it matches what was reported to the court in the debtor's bankruptcy case.
• Debtors who cannot communicate with their attorney via a video communication system and debtors who filed
  without an attorney must copy, scan, or take a picture of their identification and proof of social security number
  and mail/email/send the copies or images to their trustee no later than two days prior to the meeting of creditors.
  Copies of identification and social security cards that are sent through the mail must be mailed early enough that
  the trustee receives it at least two days before the meeting.
• Debtors should have their bankruptcy documents available during the meeting of creditors in the event there are
  questions about the information in the documents.
• The meeting of creditors will be recorded by the trustee. Any other recordings are prohibited.



                          (UNITED STATES TRUSTEE'S INSTRUCTIONS. 03/20/2020)
           Case 22-24160                Doc 10          Filed 11/09/22 Entered 11/09/22 22:22:56                                     Desc Imaged
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                                                              United States Bankruptcy Court
                                                                      District of Utah
In re:                                                                                                                 Case No. 22-24160-WTT
Patricia Benitez-Castro                                                                                                Chapter 7
        Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 1088-2                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Nov 07, 2022                                               Form ID: 309A                                                             Total Noticed: 26
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Nov 09, 2022:
Recip ID                 Recipient Name and Address
db                     + Patricia Benitez-Castro, 2546 South 7025 West, Salt Lake City, UT 84128-5523
12110091               + Check City, 1221 N 500 W, Provo, UT 84604-3300
12110092                 Check N Go, 757 East 3300 South, Sandy, UT
12110093                 Community Health Centers, Inc, 2621 South 3270 West, Salt Lake City, UT 84119-1119
12110094               + Intermountain Healthcare, 36 South State Street Floor 22, Salt Lake City, UT 84111-1470
12110096               + Jordan Federal Credit Union, 9260 S 300 E, Sandy, UT 84070-2917
12110098               + Liquid Loans, 3762 West 5400 South, Salt Lake City, UT 84129-3574
12110100               + Mountain West Anesthesia, PO Box 3570, Salt Lake City, UT 84110-3570
12110101                 Mr Money, 47771 West 3500 South, Salt Lake City, UT 84120
12110103               + Security Finance, 1899 West 4700 South Ste 134, Salt Lake City, UT 84129-1103
12110104               + Smart Loans Financial, LLC, 545 West 3900 South, Ste D, Salt Lake City, UT 84123-1345
12110107               + USA Cash Services Loan Center, 2598 West 4700 South, Salt Lake City, UT 84129-1804
12110106               + Ufirst Credit Union, PO Box 58025, Salt Lake City, UT 84158-0025
12110108               + Utah Orthodontic Care, 2739 South 5600 West #140, Salt Lake City, UT 84120-6092
12110110               + Utah Title Loans, 3325 W. 3500 S., Salt Lake City, UT 84119-2629

TOTAL: 15

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                  Notice Type: Email Address                                    Date/Time                 Recipient Name and Address
aty                       Email/Text: lincolnlaw.orem.atc@gmail.com
                                                                                        Nov 07 2022 23:35:00      Andrew T. Curtis, Lincoln Law, 921 West Center
                                                                                                                  Street, Orem, UT 84057
tr                     + EDI: BSRBAILEY1
                                                                                        Nov 08 2022 04:33:00      Steven R. Bailey tr, Steven R. Bailey, Attorney at
                                                                                                                  Law, P.O. Box 1828, Layton, UT 84041-6821
12110089               + Email/Text: bankruptcy@axcess-financial.com
                                                                                        Nov 07 2022 23:35:00      Axcssfn/Cngo, 7755 Montgomery Rd Ste 4,
                                                                                                                  Cincinnati, OH 45236-4291
12110090               + Email/Text: cswelch@chartway.com
                                                                                        Nov 07 2022 23:36:00      Chartway Federal Credit Union, 5700 Cleveland
                                                                                                                  St, Virginia Beach, VA 23462-1752
12110095                  EDI: IRS.COM
                                                                                        Nov 08 2022 04:33:00      Internal Revenue Service, Centralized Insolvency
                                                                                                                  Operations, P.O. Box 7346, Philadelphia, PA
                                                                                                                  19101-7346
12110099               + Email/Text: clarson@macu.com
                                                                                        Nov 07 2022 23:36:00      Mountain America Federal Credit Union, 7181 S
                                                                                                                  Campus View Dr, West Jordan, UT 84084-4312
12110102                  Email/Text: bobbi@outsourcerec.com
                                                                                        Nov 07 2022 23:35:00      Outsource Receivables, 1349 Washington Blvd,
                                                                                                                  Ogden, UT 84404
12110097                  Email/Text: bankruptcy@qcholdings.com
                                                                                        Nov 07 2022 23:35:00      Lend Nation, 1863 West 4700 South, Salt Lake
                                                                                                                  City, UT 84129
12110105                  Email/Text: collection@solucionhispana.com
                                                                                        Nov 07 2022 23:36:00      Solucion Hispana, 682 West Center St, Midvale,
                                                                                                                  UT 84047
12110109                  EDI: UTAHTAXCOMM.COM
                                                                                        Nov 08 2022 04:33:00      Utah State Tax Commission, Taxpayer Services
                                                                                                                  Division, 210 N 1950 W, Salt Lake City, UT
                                                                                                                  84134-3340
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District/off: 1088-2                                                User: admin                                                             Page 2 of 2
Date Rcvd: Nov 07, 2022                                             Form ID: 309A                                                         Total Noticed: 26
12110111                + Email/Text: bk@worldacceptance.com
                                                                                     Nov 07 2022 23:36:02     World Finance Corporation, 104 S Main St,
                                                                                                              Greenville, SC 29601-2711

TOTAL: 11


                                                     BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                    NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Nov 09, 2022                                         Signature:           /s/Gustava Winters




                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on October 21, 2022 at the address(es) listed
below:
Name                              Email Address
Andrew T. Curtis
                                  on behalf of Debtor Patricia Benitez-Castro lincolnlaw.orem.atc@gmail.com
                                  ecf.ut.t6@sitekitmail.com;ecf.ut.t7@sitekitmail.com;ecf.ut.t8@sitekitmail.com;andrewcurtis.ut.bdcf@freelooks.counselkit.com;an
                                  drewcurtis.ut.8130@freelooks.counselkit.com;ck.freelooks+ut+atc@gmail.com

Steven R. Bailey tr
                                  karen@baileylaw.org UT06@ecfcbis.com

United States Trustee
                                  USTPRegion19.SK.ECF@usdoj.gov


TOTAL: 3
